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AO 440 (Rev. 06/12; DC 3/15) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the

                                                    __________ District
                                                          District      of __________
                                                                   of Columbia


     US Dominion, Inc., Dominion Voting Systems,                     )
    Inc., and Dominion Voting Systems Corporation                    )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 21-cv-00213-CJN
                                                                     )
                     Rudolph W. Giuliani                             )
                                                                     )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Rudolph W. Giuliani
                                           45 East 66th Street, Apt. 10W
                                           New York, NY 10065




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Thomas A. Clare, P.C.
                                           Clare Locke LLP
                                           10 Prince Street
                                           Alexandria, VA 22314



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               ANGELA D. CAESAR, CLERK OF COURT

                                                                                        /s/ Simone Bledsoe
Date: 01/25/2021
                                                                                        Signature of Clerk or Deputy Clerk
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